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         May 6, 2024

         Hon. Brian A. Jackson
         Russell B. Long Federal Building and United States Courthouse
         777 Florida Street, Suite 139
         Baton Rouge, LA 70801

                  Re:      Voice of the Experienced, et al., v. LeBlanc, et al., No. 3:23-cv-1304-BAJ-EWD

         Dear Judge Jackson,

                 We write on behalf of all parties in the above-captioned action to update the Court
         concerning the heat index at Louisiana State Penitentiary (“LSP”) during the period April 28–
         May 2, 2025,1 consistent with the protocol the parties jointly proposed in their June 21, 2024
         letter.

                 The heat index data listed below was recorded by the National Weather Service (“NWS”)
         at the New Roads False River Regional Airport. The NWS data underlying this summary is
         attached as Exhibit A to this report. Defendants attach as Exhibit B Daily Line Counts, which
         document activities for the day.

         •   Monday, April 28: The heat index at LSP met or exceeded 88 degrees2 Fahrenheit at 4:35
             p.m. and at 5:15 p.m. According to Defendants, the Farm Line was not operating on this
             date.

         •   Tuesday, April 29: The heat index at LSP met or exceeded 88 degrees Fahrenheit at 2:15
             p.m., at 3:55 p.m., and from 4:35 p.m. to 5:15 p.m. According to Defendants, the Farm Line
             was not operating on this date.

         •   Wednesday, April 30: The heat index at LSP met or exceeded 88 degrees Fahrenheit at
             12:35 p.m. According to Defendants, the Farm Line was not operating during this period.

         •   Thursday, May 1: The heat index at LSP did not meet or exceed 88 degrees Fahrenheit.
             According to Defendants, the Farm Line was not operating on this date.


         1
             Because Defendants report that the Farm Line operates on weekdays only, this summary does not include
             weekend heat data.
         2
             Because a heat alert is issued once the heat index reaches 91 degrees pursuant to HCP8, Defendants object to
             using 88 degree heat index threshold in the weekly reporting.
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Hon. Brian A. Jackson                                                                  2


•     Friday, May 2: The heat index at LSP did not meet or exceed 88 degrees Fahrenheit.
      According to Defendants, the Farm Line was not operating on this date.

         The parties stand ready to answer any questions the Court may have and thank the Court
for its attention to this matter.

                                             Respectfully submitted,

                                             /s/ Jeremy Benjamin

                                             Jeremy Benjamin

cc:      All Counsel of Record (via ECF)
